  Case 1:22-cv-00379-GLR Document 51 Filed 06/01/22 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

COMPASS MARKETING, INC.                    :
                                           :
              Plaintiff                    :
                                           :
        v.                                 :       Civil Action No. 1:22-CV-00379
                                           :       Judge George Levi Russell, III
FLYWHEEL DIGITAL, LLC, et al.              :
                                           :
              Defendants                   :

                                            LINE

        Defendants Michael White and George White (“Michael and George White”), by and

through counsel, Jeffrey M. Schwaber, Judith G. Cornwell, and Stein Sperling Bennett De Jong

Driscoll PC, hereby submit this line to adopt and incorporate by reference into the Reply in

Support of Defendants Michael White and George White’s Motion to Dismiss (ECF 49), the

arguments set forth in Daniel White’s Reply (ECF 50), given Compass’s single consolidated

response in opposition to the motions to dismiss filed separately by Michael and George White,

on the one hand, and Defendant Daniel White, on the other hand.




                                               1


8980746_1
  Case 1:22-cv-00379-GLR Document 51 Filed 06/01/22 Page 2 of 2



                                            Respectfully submitted,

                                            STEIN SPERLING BENNETT
                                            DE JONG DRISCOLL PC


                                                    /s/ Jeffrey M. Schwaber
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                                            Attorneys for Michael White and George White


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, that on this 1st day of June, 2022, a copy of the foregoing was

electronically filed and served on all counsel of record via CM/ECF.

                                               /s/ Jeffrey M. Schwaber
                                            Jeffrey M. Schwaber




                                               2


8980746_1
